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   IT IS ORDERED as set forth below:



   Date: September 24, 2018
                                                   _________________________________

                                                              Sage M. Sigler
                                                       U.S. Bankruptcy Court Judge

  ________________________________________________________________

                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

 IN RE:
                                                 CHAPTER 7
 AMERICAN UNDERWRITING
 SERVICES, LLC.,                                 CASE NO. 18-58406

        Debtor.


      ORDER GRANTING FINAL APPLICATION FOR COMPENSATION
       FOR SMALL HERRIN, LLP AS BANKRUPTCY COUNSEL FOR
              DEBTORS AND DEBTORS-IN-POSSESSION

       This matter came before the Court on September 12, 2018, on the Final Application

for Compensation for Small Herrin, LLP as Bankruptcy Counsel for Debtors and Debtors-

in-Possession (the “Final Application”) (Doc. No. 95) filed by Small Herrin, LLP

(“Applicant”), seeking an Order approving the fees and expenses requested in the Final

Application.

      The Court has considered the Final Application. It appears that the Court has

jurisdiction over this matter; that it is a core proceeding; that the Final Application was
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served on the Chapter 7 Trustee and the United States Trustee (the “Served Parties”); that

notice of the hearing on the Final Application (Doc. No. 96) has been given to the Served

Parties, all scheduled creditors and other parties in interest, and all who have filed Notices

of Appearance in this case as of the date of filing of the Application; that Debtor was

previously authorized by an order of the Court dated June 13, 2018 to retain Applicant as

a professional (Doc. No. 58); that written objections to the Application were filed by (1)

the Office of the United States Trustee, (2) S. Gregory Hays, the Chapter 7 Trustee, and

(3) ProSight Specialty Management Company and New York Marine and General

Insurance Company (collectively the “Objections”); that the Objections have been either

resolved among the parties or overruled by the Court at the hearings on (1) Debtor’s motion

to retain Applicant as counsel and (2) the Final Application; that Applicant has voluntarily

agreed to reduce the fees sought in the final Application by $15,163.33, for a total amount

of $70,061.67; and the Final Application meets the standards for the compensation of

professional in this case; it is hereby

       ORDERED that Applicant’s fees in the sum of $70,061.67 and reimbursement of

related, necessary expenses of $2,700.21 incurred by Applicant as counsel for the Debtor

during the time period from May 18, 2018 through and including June 27, 2018, being a

total amount of $72,761.88, are hereby allowed and awarded on a final basis as Chapter 11

administrative expenses; and it is

       FURTHER ORDERED that Applicant is authorized to draw down the remaining

retainer held in its IOLTA account ($53,298.00) (the “Retainer”) to pay its approved

compensation and expenses; provided, however, that (a) the Retainer shall remain subject
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to avoidance as a fraudulent conveyance or similar claim by either the Trustee or a party

with standing to assert such claim and the authority to draw down such Retainer shall be

without prejudice to such claims; (b) the Retainer shall remain subject to tracing or other

claims related to claims that the Retainer constitutes trust funds which may be recovered

by the Trustee or any creditor with standing to assert such claims; and (c) Applicant shall

not cite this Court’s authorization to draw down the Retainer as a defense or justification

to any fraudulent conveyance, tracing or similar action which may be brought against

Applicant to recover the Retainer.



Prepared and Presented by:

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No Opposition:

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